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                        EXHIBIT 10
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From: Blatt, Ruth (CMS/CMCS) <Ruth.Blatt@cms.hhs.gov>
Sent: Friday, November 30, 2018 4:53 PM
To: Sarraille, William <wsarraille@sidley.com>; CMS RxDRUGPolicy <rxdrugpolicy@cms.hhs.gov>
Cc: Robertson, Michele <Michele.Robertson@mnk.com>; Casey, Mark <Mark.Casey@mnk.com>; Tyndall, Mark
<Mark.Tyndall@mnk.com>; Zidlicky, Paul <pzidlicky@sidley.com>; Hales, Stephanie <shales@sidley.com>; Coster, John
M. (CMS/CMCS) <John.Coster@cms.hhs.gov>; Tuttle, Wendy L. (CMS/CMCS) <Wendy.Tuttle@cms.hhs.gov>
Subject: RE: Confidential and Proprietary - CMS Meeting Request Form - Mallinckrodt Pharmaceuticals

Bill,

I’m glad that worked out. Please ensure that others on this email have received this message because I keep getting an
“undeliverable” message for several of the mnk.com addresses.

Do you or others need instructions on how to access the building?

I will meet you in the lobby on January 22nd between 8:50-8:55. If you need to reach me that morning, my cell phone
number is 410 599-9244.

Because of the rescheduled meeting, we will refrain from taking action on H.P. Acthar Gel until after the rescheduled
meeting.

Regards,
Ruth

From: Sarraille, William [mailto:wsarraille@sidley.com]
Sent: Friday, November 30, 2018 1:44 PM
To: Blatt, Ruth (CMS/CMCS) <Ruth.Blatt@cms.hhs.gov>; CMS RxDRUGPolicy <rxdrugpolicy@cms.hhs.gov>
Cc: Michele.Robertson@mnk.com; Mark.Casey@mnk.com; Mark.Tyndall@mnk.com; Zidlicky, Paul
<pzidlicky@sidley.com>; Hales, Stephanie <shales@sidley.com>
Subject: RE: Confidential and Proprietary - CMS Meeting Request Form - Mallinckrodt Pharmaceuticals

Hello, and thank you again for the January 22 date. We have been able to reschedule some things and we can
make that day and time. Thank you for rescheduling.

I assume that, in light of the rescheduled date, that the reference to a December 17 action date in Mr. Coster’s
letter is tolled?

Thank you so much.

Best regards,

Bill
                                                            1
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Sent with BlackBerry Work
(www.blackberry.com)

From: Blatt, Ruth (CMS/CMCS) <Ruth.Blatt@cms.hhs.gov>
Date: Friday, Nov 30, 2018, 11:23 AM
To: Sarraille, William <wsarraille@sidley.com>, CMS RxDRUGPolicy <rxdrugpolicy@cms.hhs.gov>
Cc: Michele.Robertson@mnk.com <Michele.Robertson@mnk.com>, Mark.Casey@mnk.com <Mark.Casey@mnk.com>,
Mark.Tyndall@mnk.com <Mark.Tyndall@mnk.com>, Zidlicky, Paul <pzidlicky@sidley.com>, Hales, Stephanie
<shales@sidley.com>
Subject: RE: Confidential and Proprietary - CMS Meeting Request Form - Mallinckrodt Pharmaceuticals

Can the group be available on January 22nd at 9AM?

From: Sarraille, William [mailto:wsarraille@sidley.com]
Sent: Friday, November 30, 2018 10:28 AM
To: CMS RxDRUGPolicy <rxdrugpolicy@cms.hhs.gov>; Blatt, Ruth (CMS/CMCS) <Ruth.Blatt@cms.hhs.gov>
Cc: Michele.Robertson@mnk.com; Mark.Casey@mnk.com; Mark.Tyndall@mnk.com; Zidlicky, Paul
<pzidlicky@sidley.com>; Hales, Stephanie <shales@sidley.com>
Subject: RE: Confidential and Proprietary - CMS Meeting Request Form - Mallinckrodt Pharmaceuticals

Dear Ms. Blatt,

I hope this finds you well. Thank you so much for your message.

I appreciate how busy Mr. Coster’s schedule is. We know the demands on his time. Given the serious issues
presented and Mr. Coster’s importance to a discussion of them, we do think we should reschedule.

I understand that Mr. Coster’s time in office is limited. We would really appreciate an in person meeting,
however. The questions presented here are enormously important and threaten to have seriously adverse effects
on patients.

What meeting options could you offer? I will check on our end regarding our group’s schedules.

Thank you so much.

Best regards,

Bill Sarraille



Sent with BlackBerry Work
(www.blackberry.com)

From: CMS RxDRUGPolicy <rxdrugpolicy@cms.hhs.gov>
Date: Thursday, Nov 29, 2018, 3:12 PM
To: Sarraille, William <wsarraille@sidley.com>, Blatt, Ruth (CMS/CMCS) <Ruth.Blatt@cms.hhs.gov>
Cc: Michele.Robertson@mnk.com <Michele.Robertson@mnk.com>, Mark.Casey@mnk.com <Mark.Casey@mnk.com>,
Mark.Tyndall@mnk.com <Mark.Tyndall@mnk.com>, Zidlicky, Paul <pzidlicky@sidley.com>, Hales, Stephanie
<shales@sidley.com>
                                                       2
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Subject: RE: Confidential and Proprietary - CMS Meeting Request Form - Mallinckrodt Pharmaceuticals

Thank you Bill,

Unfortunately, I just found out that John had to change his schedule and he is not available next week. If Mallinckrodt is
amenable to keeping the December 4th meeting, we will still have our acting Deputy Director, at least two technical
directors, and potentially an analyst or two available. If they would prefer to reschedule when John is available, let me
know. John’s in-office time is very limited and he may only be able to participate by phone.

Thank you,
Ruth

From: Sarraille, William [mailto:wsarraille@sidley.com]
Sent: Thursday, November 29, 2018 2:34 PM
To: Blatt, Ruth (CMS/CMCS) <Ruth.Blatt@cms.hhs.gov>; CMS RxDRUGPolicy <rxdrugpolicy@cms.hhs.gov>
Cc: Michele.Robertson@mnk.com; Mark.Casey@mnk.com; Mark.Tyndall@mnk.com; Zidlicky, Paul
<pzidlicky@sidley.com>; Hales, Stephanie <shales@sidley.com>
Subject: Re: Confidential and Proprietary - CMS Meeting Request Form - Mallinckrodt Pharmaceuticals

Not Subject to Release or Disclosure Under FOIA or Otherwise

Dear Ms. Blatt,

I hope this finds you well. Mallinckrodt Pharmaceuticals asked me to write to you to confirm the upcoming meeting at
CMS’s offices on December 4, 2018, at 11:00 AM Eastern. I have provided a completed meeting request form.

We look forward to the discussion next week. In the meantime, please let us know if you have any questions.

Thank you very much.

Best regards,

Bill


WILLIAM A. SARRAILLE
Partner

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Washington, DC 20005
+1 202 736 8195
wsarraille@sidley.com
www.sidley.com




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If you are not the intended recipient, please delete the e-mail and any attachments and notify us
immediately.

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